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Case 2:13-cv-05785-JAK-FFM Document 1

DAVID ELDER (SBN 171510)
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JOEL MARRERO (SBN 275601)
3255 Wilshire Boulevard, Suite 1150
Los Angeles, CA 90010

Tel.: (213) 387-8400 x1116

Fax: (213) 381-8555

ATTORNEYS FOR PLAINTIFF

IN THE UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

NORMA LANDEROS, an individual,

Plaintiff,
VS.

CLEMENT LEUNG, an individual, and
HOLIDAY LODGE MOBILE HOME
PARK LP, a California limited
partnership,

Defendants.

 

I.

against Defendants for discrimination based on disability in connection with the

rental of residential property. Plaintiff is an individual with known and obvious

-1-
COMPLAINT

INTRODUCTION

1. This is an action for declaratory and injunctive relief and damages

Filed 08/09/13 Page 1of13 Page ID #:5

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COMPLAINT FOR
DECLARATORY, INJUNCTIVE
RELIEF, AND DAMAGES FOR:
1. The Fair Housing Amendments Act
of 1988, 42 U.S.C. §§ 3601 et seq.;
California Fair Employment and
Housing Act, Cal. Gov’t Code §
12955 et seq.;

Disabled Persons Act (Cal. Civil
Code § 54)

Negligence.

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Case 2:13-cv-05785-JAK-FFM Document1 Filed 08/09/13 Page 2of13 Page ID #:6

disabilities. Defendants issued Plaintiff sixty (60) days notice to vacate. Plaintiff
made several reasonable accommodation requests to rescind the notice to vacate
based on her disabilities. Defendants refused to engage Plaintiff and denied her
requests for a reasonable accommodation. This action arises under the Fair
Housing Act of 1968, as amended, 42 U.S.C. §§ 3601 et seqg., and related state
laws.

YW. JURISDICTION AND VENUE

2. This Court has jurisdiction pursuant to 42 U.S.C. § 3613 and 28
U.S.C. §§ 1331 and 1343. This Court has supplemental jurisdiction pursuant to 28
U.S.C. § 1367 to hear and determine Plaintiff's state law claims because they are
related to her federal claims and arise out of a common nucleus of operative facts.
Plaintiff's state and federal claims form part of the same case or controversy under
Article III of the United States Constitution.

3. Venue in this district is proper under 28 U.S.C. § 1391(b)(2) because
all of the acts or omissions giving rise to these claims occurred within the County
of Los Angeles, State of California.

4. This Court has authority to grant declaratory and injunctive relief as
well as compensatory and punitive damages pursuant to 42 U.S.C. §§ 3612(0)(3)
and 3613(c)(1), and 28 U.S.C. §§ 2201 and 2202. The Court also has the authority
to award reasonable attorneys’ fees and costs to a prevailing party pursuant to 42
U.S.C. § 3613(c)(2).

Ill. PARTIES

5. Plaintiff Norma Landeros is an individual with severe, permanent,
and apparent disabilities. Mrs. Landeros’ disabilities include, but are not limited
to, advanced Parkinson’s disease, chronic depression, and diabetes.

6. Mrs. Landeros resides at 1661 Puente Ave, Trailer 68, Baldwin Park,
California, 91706 (“subject property”). While Mrs. Landeros owns the trailer, she

-2-
COMPLAINT

 
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Case 2:13-cv-05785-JAK-FFM Document1 Filed 08/09/13 Page 3o0f13 Page ID #:7

rents the space on which the trailer is situated. The subject property is a mobile
home park with approximately 100 mobile home trailers. The subject property is a
dwelling within the meaning of 42 U.S.C. § 3602(b).

7. Defendant Clement Leung owns the mobile home park and leases
spaces to mobile home residents. Defendant employs property managers to
operate the property on his behalf.

8. Defendant Holiday Lodge Mobile Home Park LP is the property
management company for the subject property. At all times relevant, herein,
Defendant Holiday Lodge Mobile Home Park LP acted individually and as
Defendant Leung’s agent. Defendant employs managers and on-site managers to
operate the subject property. Brian Leung is the current property manager and
Anthony Herrera is the on-site manager at the subject property. Christina Herrera,
Anthony Herrera’s wife, assists him in the management of the property. At all
times relevant herein, the property managers and on-site managers acted
individually and as Defendants’ agents.

IV. FACTUAL ALLEGATIONS

9. Plaintiff Norma Landeros is an individual with disabilities as defined
by the federal Fair Housing Act, the state Fair Employment and Housing Act, and
the California Disabled Persons Act. Mrs. Landeros suffers from mental and
physical disabilities that affect her lifestyle habits. The symptoms of her mental
and physical disabilities require her to take countless medications and depend on a
walking cane. Mrs. Landeros’ disabilities render her completely unable to work
and eligible for Social Security Insurance (“SSI”) benefits.

10. Although Mrs. Landeros owns her mobile home, she leases the space
where her mobile home is situated. In August 1997, Mrs. Landeros purchased her
mobile home for approximately $16,000. She has lived there with her husband,

Jose Landeros, and her three children ever since. Despite its name, Mrs. Landeros’

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COMPLAINT

 
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Case 2:13-cv-05785-JAK-FFM Document1 Filed 08/09/13 Page 4of13 Page ID #:8

home is in actuality immobile, cannot be uprooted, and its transfer of ownership is
subject to third-party approval.

11. Mrs. Landeros currently pays approximately $600 per month to lease
the space, due no later than the 5th of every month.

12. Per Defendants’ longstanding policy, when a tenant is late on rent
(past the 5th of every month), the tenant is subject to a $50 late fee, due along with
rent by the 12th of every month. Defendants’ agent and on-site manager Anthony
Herrera demanded Mrs. Landeros pay the $50 late fee in the form of cash.

13. Around April 2012, Mr. Landeros incurred injuries to his left
shoulder, hips, and back that rendered him unable to work.

14. Between April 2012, and June 2013, as a direct result of Mr.
Landeros’ injury and Mrs. Landeros’ disability and inability to work, on at least
four occasions, they were unable to pay rent by the 5th of the month.

15. However, the few instances where they were late paying rent, Mr. and
Mrs. Landeros paid rent along with the $50 late fee in cash by the 12th of the
month, as instructed by Mr. Herrera.

16. Inor around November 2012, Mrs. Landeros applied for SSI benefits.

17. Onor around March 23, 2013, Mrs. Landeros received a letter from
the Social Security Administration awarding her $872 on a monthly basis
beginning May 2013, the first payment of which to be received by June 12, 2013.

18. AsofJune 5, 2013, Mrs. Landeros had not received her SSI benefit.

19. Onor around June 6, 2013, Mr. Herrera told Mrs. Landeros that she
had until August 6, 2013, (60 days) to vacate her mobile home or she would be
evicted.

20. On June 7, 2013, Mrs. Landeros tendered June 2013’s rent along with
the $50 late fee in the form of money orders. Plaintiff placed the money orders in

Mr. Herrera’s rent deposit box at the subject property.

-4-
COMPLAINT

 
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Case 2:13-cv-05785-JAK-FFM Document1 Filed 08/09/13 Page5of13 Page ID#:9

21.  Onor around June 12, 2013, Mrs. Landeros received her SSI benefit
of $872. On or around that same day, Mrs. Landeros, who has visible disabilities,
approached Defendants’ agent and property manager Brian Leung while he visited
the subject property. She asked him the reason for the eviction. He told her that
she had paid the rent late and returned her June 2013’s rent and late fee.

22.  Asaresult of her SSI award, Mrs. Landeros is able and willing to
make timely rental payments.

23. Onor around June 15, 2013, Mr. Landeros wrote a letter to
Defendants asking a rescission of the eviction notice on the basis of Mrs.
Landeros’ disability. The letter stated that his wife had a disability, that they have
always made rent payments each month, and requested a meeting to discuss an
accommodation.

24. Defendants did not respond to Mr. Landeros’ June 15, 2013 letter.

25. Mrs. Landeros then went to Mr. Herrera’s home at the subject
property to discuss a rescission of the eviction notice on the basis of her disability.
Mr. Herrera’s wife, Christina Herrera, answered the door. While Mrs. Landeros
stood outside waiting for Mr. Herrera, she heard him refer to her as “crippled.”
When Mr. Herrera came to the door he refused to rescind the eviction notice and
told Mrs. Landeros that the owner did not want people like her and her family at -
the subject property.

26. On June 18, 2013, Mrs. Landeros contacted the Housing Rights
Center (“HRC”) for assistance with a reasonable accommodation request.

27. On July 12th, July 15th, and July 16th the HRC called and left voice
messages at a phone number that Mrs. Landeros has previously used to speak with

Defendant’s property manager Brian Leung.

-5-
COMPLAINT

 
 

28. Not having heard back from Defendants, the HRC sent several
reasonable accommodation request letters to rescind the eviction notice and cease
efforts to evict Mrs. Landeros for breach of the lease caused by her disabilities.

29. On July 16, 2013, HRC sent a reasonable accommodation request
letter to Clement Leung’s legal address.

30. On August 5, 2013, HRC sent a copy of the reasonable
accommodation request letter to Mr. Herrera at his home address.

31. On August 7, 2013, Mr. Herrera approached Mrs. Landeros and
stated, “the agency thinks they are helping you but we have better attorneys” and
“vou don’t have any rights because you are no longer a tenant.”

32. On August 8, 2013, the HRC called Anthony Herrera to confirm
receipt of the August 5, 2013, reasonable accommodation request letter. The HRC
left a voice message at 626-338-2967 requesting that Defendants rescind the 60-
day notice on the basis of Mrs. Landeros’ disability or, at the very least, provide
her more time to vacate before initiating an eviction proceeding.

33. To date, Defendants have not engaged Plaintiff or HRC to discuss her
reasonable accommodation requests.

34. Defendants’ refusals to engage Mrs. Landeros in an interactive
process and the denials of her reasonable accommodation requests constitute
unlawful housing discrimination based on disability.

35. If Plaintiff is evicted from the subject property, she will lose access to
her mobile home and ability to resell it because she cannot uproot it. Defendants
will unjustly acquire Mrs. Landeros’ mobile home by unlawfully denying her
reasonable accommodation request.

36. Defendants’ unlawful conduct exacerbated, and continues to
exacerbate, the symptoms of Mrs. Landeros’ disabilities and caused damage to her

psychological and emotional well-being. Due to Defendants’ unlawful actions,

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COMPLAINT

 

 
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Mrs. Landeros has experienced anxiety, heightened depression, insomnia, stress,
and other damages subject to proof at trial.

Vv. CLAIMS FOR RELIEF

First Claim — Fair Housing Act

37. Plaintiff herein realleges and incorporates by reference all the
preceding paragraphs of this complaint.

38. Defendants, by a pattern or practice of illegal discrimination, violated
the Fair Housing Act, 42 U.S.C. § 3601, et seq., by discriminating against Mrs.
Landeros, an individual with disabilities, in the following ways:

a. Refusing to make reasonable accommodations in violation of
42 U.S.C. § 3604()B3)(B);

b. Making or printing, or causing to make statements with respect
to a rental unit that indicates a preference, limitation, or
discrimination based on disability in violation of 42 U.S.C. §
3604(c);

c. Otherwise making a dwelling unavailable in violation of 42
U.S.C. § 3604(H(1);

d. Interfering with persons in the exercise or enjoyment of rights
guaranteed by the Fair Housing Act, in violation of 42 U.S.C. §
3617.

Second Claim — California Fair Employment and Housing Act

39. Plaintiff herein realleges and incorporates by reference all the
preceding paragraphs of this complaint.

40. Defendants violated the California Fair Employment and Housing
Act, Cal. Gov’t Code §§ 12926-95, by discriminating against Mrs. Landeros
through the following acts:

-7-
COMPLAINT

 

 
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a. Refusing to provide a reasonable accommodation in violation
of Cal. Gov’t Code §§ 12955 and 12927(c).

b. _—_ Discriminating because of disability in violation of Cal. Gov’t
Code §§ 12955(a) and (d);

c. Otherwise making unavailable or denying a dwelling based on

discrimination because of disability in violation of Cal. Gov’t
Code § 12955(k); and
d. Interfering with persons in the exercise or enjoyment of rights
guaranteed by the Fair Employment and Housing Act, in
violation of Cal. Gov’t Code § 12955.7.
Third Claim - California Disabled Persons Act

4\. Plaintiff herein realleges and incorporates by reference all the
preceding paragraphs of this complaint.

42. Incommitting the acts herein alleged, Defendants engaged in a
practice of unlawful discrimination in the operation of the subject property based
on disability against Mrs. Landeros, and therefore have discriminated against her in
violation of the California Disabled Persons Act, Cal. Civil Code § 54 et seq.

Fourth Claim - Negligence

43. Plaintiff herein realleges and incorporates by reference all the
preceding paragraphs of this complaint.

44. Defendants owed Mrs. Landeros a duty to operate the subject property
in a manner that was free from unlawful discrimination and to employ, train, and
supervise its directors, employees, agents, and itself to fulfill that duty. Defendants
breached that duty by refusing to provide a required accommodation.

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COMPLAINT

 
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45. Defendants’ negligence includes but is not limited to:

a. Defendants’ negligent failure to train its employees and agents
regarding the requirements of federal and state fair housing
laws;

b. Defendants’ negligent failure to hire persons who were
familiar with the requirements of federal and state fair
housing laws;

c. Defendants’ negligent failure to supervise itself and its
employees regarding compliance with the requirements of
federal and state fair housing laws; |

d. Defendants’ negligent failure to discipline or terminate
employees, who failed to comply with the requirements of
federal and state fair housing laws; and

e. Defendants’ negligent failure to operate the subject property
in conformity with accepted industry custom and standards.

VI. PRAYER FOR RELIEF

Plaintiff prays this Court enter judgment as follows:

1. Declare that the discriminatory practices of the Defendants, as set
forth above, violated the Fair Housing Act, the Fair Employment and Housing Act,
and the Disabled Persons Act.

2. Enjoin Defendants to rescind the 60-day notice issued to Plaintiff.

3. Enjoin Defendants, its agents, employees, successors, and all other
persons in active concert or participation with Defendants from continuing to
discriminate on the basis of disability against Plaintiff or against any other person
who is a prospective or current resident homeowner or tenant at its properties in
violation of the above federal and state laws in any aspect of the occupancy of a

dwelling.

-9-
COMPLAINT

 

Case 2:13-cv-05785-JAK-FFM Document1 Filed 08/09/13 Page 9of13 Page ID #:13

 
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5. Order that Defendants provide equal housing opportunities to all
prospective and in-place resident homeowners and tenants, engage in
comprehensive fair housing training, and submit to monitoring of their practices
and records in order to ensure compliance with the fair housing laws.

6. Award compensatory damages to Plaintiff.

7. Award statutory damages to Plaintiff.

8. Award punitive damages to Plaintiff.

9. Award any other such damages as may be allowed under all the above
federal and state laws.

10. Award to Plaintiff his reasonable attorneys’ fees and costs in this
action.

11. Award all such other relief as the Court deems just.

Dated: August 8, 2013 Respectfully Submitted,
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J QEL MARRERO
Attorney for Plaintiff
-10-
COMPLAINT

 
Case 2:13-cv-05785-JAK-FFM Document1 Filed 08/09/13 Page 11o0f13 Page ID #:15

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Los Angeles, CA 90010

Phone: (213) 387-8400 x1116 Fax (213) 381-8555

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NORMA LANDEROS, an individual, CASE NUMBER

© | OV 1305785 d/can,

CLEMENT LEUNG, an individual, and HOLIDAY LODGE
MOBILE HOME PARK LP, a California limited partnership,

 

SUMMONS
DEFENDANT(S).

 

 

TO: DEFENDANT(S):

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached Mf complaint O amended complaint

C] counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, DAVID ELDER , whose address is
3255 Wilshire Boulevard, Suite 1150, Los Angeles, CA 90010 . If you fail to do so,

 

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court

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Datea AUG = 9 2018 By: MARILYN DAVE

 

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(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-01A (12/07) SUMMONS
Case 2:13-cy Reha stAlies DMT HeCUMERtT  cenieANSGPRIeT Bagamzatnm Page ID #:16

 

CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself D) DEFENDANTS
NORMA LANDEROS, an individual CLEMENT LEUNG, an individual, and HOLIDAY LODGE MOBILE HOME

PARK LP, a California limited partnership

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing Attorneys (If Known)
yourself, provide same.)

HOUSING RIGHTS CENTER, INC.

3255 Wilshire Boulevard, Suite 1150, Los Angeles, CA 90010
TEL: 213-387-8400 x1116/ FAX: (213) 381-8555

 

 

U. BASIS OF JURISDICTION (Place an X in one box only.) IH. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
O11 U-S. Government Plaintiff 3 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State 1 ©1 Incorporated or Principal Place O4 04
of Business in this State
(12 U.S. Government Defendant 4 Diversity (Indicate Citizenship | Citizen of Another State O02 2 Incorporated and Principal Place O5 O85
of Parties in Item IIT) of Business in Another State
Citizen or Subject of a Foreign Country 03 O03 Foreign Nation O6 O86

 

 

IV. ORIGIN (Place an X in one box only.)

41 Original (12 Removed from O13 Remanded from O14 Reinstatedor O15 Transferred from another district (specify): [16 Multi- O17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from

Litigation Magistrate Judge
V. REQUESTED IN COMPLAINT: JURY DEMAND: M Yes 0 No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: O Yes WNo 0 MONEY DEMANDED IN COMPLAINT: $

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
This action arises under the Federal Fair Housing Act, 42 U.S.C. §§ 3601-3619

VIi. NATURE OF SUIT (Place an X in one box only.)

 

OTHER STATUTES CONTRACT TORTS TORTS PRISONER LABOR
(11400 State Reapportionment | 110 Insurance PERSONAL INJURY PERSONAL PETITIONS (1710 Fair Labor Standards
410 Antitrust 01120 Marine 0310 Airplane PROPERTY (1510 Motions to Act
(1430 Banks and Banking 0130 Miller Act 0315 Airplane Product 11370 Other Fraud Vacate Sentence | 720 Labor/Mgmt.
(1450 Commerce/ICC 0 140 Negotiable Instrument Liability (2371 Truth in Lending Habeas Corpus Relations
Rates/etc. 150 Recovery of 0320 Assault, Libel & | 380 Other Personal |11530 General 1730 Labor/Mgmt.
0460 Deportation Overpayment & Slander . Property Damage J 535 Death Penalty Reporting &
11470 Racketeer Influenced Enforcement of 0330 Fed. Employers (1385 Property Damage |01 540 Mandamus/ Disclosure Act
and Corrupt Judgment 0340 a Product Liability Other 0740 Railway Labor Act
Organizations 0151 Medicare Act 0345 Marine Product BANKRUPTCY 0550 Civil Rights 0790 Other Labor
(1480 Consumer Credit 11152 Recovery of Defaulted Liability 11422 Appeal 28 USC |(1555 Prison Condition Litigation
(1490 Cable/Sat TV Student Loan (Excl. 1350 Motor Vehicle 158 FORFEITURE / 1791 Empl. Ret. Inc.
0 810 Selective Service Veterans) 1355 Motor Vehicle 11423 Withdrawal 28 PENALTY Security Act
0 850 Securities/Commodities/}0 153 Recovery of Product Liability USC 157 0610 Agriculture PROPERTY RIGHTS
Exchange Overpayment of [1360 Other Personal CIVIL RIGHTS 0620 Other Food &  |(1820 Copyrights
(1875 Customer Challenge 12 Veteran’s Benefits Injury 0441 Voting Drug 0830 Patent
USC 3410 0160 Stockholders’ Suits (1362 Personal Injury- 11442 Employment 0625 Drug Related O 840 Trademark
890 Other Statutory Actions {11 190 Other Contract Med Malpractice W443 Housing/Acco- Seizure of SOCIAL SECURITY
0891 Agricultural Act 01195 Contract Product (11365 Personal Injury- mmodations Property 21 USC |O 861 HIA (1395ff)
(1 892 Economic Stabilization Liability Product Liability [11444 Welfare 881 0 862 Black Lung (923)
Act 01196 Franchise 1368 Asbestos Personal {445 American with {C1 630 Liquor Laws 0863 DIWC/DIWW
0 893 Environmental Matters REAL PROPERTY Injury Product Disabilities - 0640 R.R. & Truck (405(g))
(1894 Energy Allocation Act {0210 Land Condemnation Liability Employment 0650 Airline Regs 0864 SSID Title XVI
11895 Freedom of Info. Act {1220 Foreclosure IMMIGRATION 19446 American with {11 660 Occupational 0865 RSI (405(g))
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nation Under Equal 1240 Torts to Land Application Other 01690 Other O870 Taxes (U.S. Plaintiff
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CV43-05785—

AFTER COMPLETING THE FRONT SIDE OF FORM CYV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

FOR OFFICE USE ONLY: — Case Number:

 

 

CV-7) (05/08) CIVIL COVER SHEET Page 1 of 2
Case 2:13-cW RPE sd MES DM TRRACEOURY, CENTRALINORUCr GAGELPORNS Page ID #:17

CIVIL COVER SHEET

VHI(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No O Yes
If yes, list case number(s):

 

VOI(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? WNo O Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events; or
CUB. Call for determination of the same or substantially related or similar questions of law and fact; or
LIC. For other reasons would entail substantial duplication of labor if heard by different judges; or
CD, Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

TX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
O) Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District: * California County outside of this District; State, if other than California; or Foreign Country
Los Angeles County N/A

 

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
QO Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country
Los Angeles County N/A
Los Angeles County N/A

 

(c) List the County in this District; Califoria County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of and involved.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country
Los Angeles County N/A

 

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tradd of land involved

 

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X. SIGNATURE OF ATTORNEY (OR PRO PER): _¢ _,/ to wa Date g ly [ { 4

Notice to Counsel/Parties: The CV-71 (JS-44) Cjyil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approVed by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coa] Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended, plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

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